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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                          :
                                                  :
           v.                                     :      Crim. No. 20-210
                                                  :
MICHAEL “OZZIE” MYERS                             :

                                            ORDER

       At my direction, Probation has sought to determine whether Defendant owns or has owned

any real property. (See emails attached.) It appears that “shortly after [Defendant’s] instant legal

troubles” began, he transferred to his wife his ownership interest in a South Philadelphia property.

To help me determine whether any fraudulent conveyances have occurred, the Parties are

ORDERED to provide to the Court at or before Defendant’s September 27, 2022, sentencing

the following:

           1. Defendant’s financial records since January 1, 2019;

           2. The financial records of Defendant’s wife since January 1, 2019; and

           3. Records regarding the ownership of the following properties since January 1, 2019,

                   a. 2746 South Hutchinson Street in Philadelphia, Pennsylvania;

                   b. 230 Forest Hill Drive in Blakeslee, Pennsylvania; and

                   c. 2633 South 3rd Street in Philadelphia, Pennsylvania.

These documents may be provided to the Court under seal.




                                                             AND IT IS SO ORDERED.


                                                               /s/ Paul S. Diamond
                                                             Paul S. Diamond, J.
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Anna Johnson

From:                  Talia Santella
Sent:                  Monday, September 26, 2022 9:04 AM
To:                    Anna Johnson
Subject:               Re: Michael Myers


Hi Anna,

Please see the responses below re: the properties.

Additionally, I have included a link which shows the date of property transfer for 2633 S. 33rd Street. It’s towards the
bottom of the page:

Property | phila.gov

Please let me know if you have any other questions.

Thank you,

Talia Santella
U.S. Probation Officer
Eastern District of Pennsylvania
William J. Green, Jr. Federal Building
600 Arch Street, Suite 2400
Philadelphia, PA 19106
Phone: (267) 299-4553
Fax: (215) 597-8856


From: Noah Gorson <ng@gorsonlaw.com>
Sent: Saturday, September 24, 2022 7:46 PM
To: Talia Santella <Talia_Santella@paep.uscourts.gov>
Subject: RE: Myers

CAUTION - EXTERNAL:


Talia, I have spoken with a family member and have been advised the following –
Was the defendant’s personal residence ever in his name, or has it always been deeded in his wife’s name? No – always in
wife’s name.

Was the home in the Poconos ever in his name, or has it always been deeded in his wife’s name? No – always in wife’s
name.

The property located at 2633 S. 3rd Street in Philadelphia – which reportedly is unoccupied – what is the exact date that
the property was deeded to his wife?
Not sure about this – however, I have been advised that it was shortly after his instant legal troubles to secure a loan from
his wife – I will try and get the date.


Noah Gorson, Attorney At Law
                                                              1
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123 S. Broad Street
Suite 2140
Philadelphia, PA 19109
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ng@gorsonlaw.com
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sender by return email and delete this communication without reading or saving it. Receipt by anyone other than the intended recipient(s) is not a
waiver of any attorney/client or other privilege. All personal messages express views of the sende and may not be copied or distributed without this
statement.


From: Talia Santella <Talia_Santella@paep.uscourts.gov>
Sent: Friday, September 23, 2022 5:13 PM
To: Noah Gorson <ng@gorsonlaw.com>
Subject: Myers
Importance: High

Hi Noah,

I just spoke with a law clerk from Judge Diamond’s chambers and she asked me to clarify the following:

Was the defendant’s personal residence ever in his name, or has it always been deeded in his wife’s name?

Was the home in the Poconos ever in his name, or has it always been deeded in his wife’s name?

The property located at 2633 S. 3rd Street in Philadelphia – which reportedly is unoccupied – what is the exact date that
the property was deeded to his wife?

Please let me know over the weekend or by Monday, as I have to relay this information back to the Court by then.

Thanks,

Talia Santella
U.S. Probation Officer
Eastern District of Pennsylvania
William J. Green, Jr. Federal Building
600 Arch Street, Suite 2400
Philadelphia, PA 19106
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CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




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